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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


__________________________________________
                                                    :
KEVIN DOBBS,                                        :
                      Plaintiff,                    :
       v.                                           :
                                                    :      CIVIL NO. 11-1556
NCO FINANCIAL SYSTEMS,                              :
               Defendant.                           :


                                            ORDER

       AND NOW, this 30th day of August 2011, upon review of the docket in this matter and

noting the Clerk of Court entered judgment in favor of Plaintiff Kevin Dobbs and against

Defendant NCO Financial Systems [doc. no. 6], and Plaintiff, through his counsel, filed a notice

of Satisfaction of Judgment [doc. no. 7], it is hereby ORDERED that the Clerk of Court shall

mark this case CLOSED.



       It is so ORDERED.

                                                    BY THE COURT:


                                                    /s/ Cynthia M. Rufe
                                                    CYNTHIA M. RUFE, J.
